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                                                                          5                     IN THE UNITED STATES DISTRICT COURT
                                                                          6                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                              IN RE: CATHODE RAY TUBE (CRT)           )   MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                    )
                                                                                                                      )   Case No. C-07-5944-SC
                                                                          9                                           )
                                                                                                                      )   ORDER REGARDING REPORT AND
                                                                         10   This Order Relates To:                  )   RECOMMENDATION
                               For the Northern District of California
United States District Court




                                                                                                                      )
                                                                         11   ALL INDIRECT PURCHASER ACTIONS          )
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                                                                         19        Having reviewed the Special Master's report and recommendation
                                                                         20   regarding settlement and the appointment of co-lead counsel for the
                                                                         21   Indirect Purchaser Plaintiffs, ECF No. 3200, the Court finds that
                                                                         22   no responsive briefing or objection need be filed until further
                                                                         23   order of the Court.
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                                                                         25        IT IS SO ORDERED.
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                                                                         27        Dated: January 13, 2015
                                                                         28                                        UNITED STATES DISTRICT JUDGE
